  Case 1:19-mc-00342-LPS Document 4 Filed 11/26/19 Page 1 of 3 PageID #: 24




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 PHILLIPS PETROLEUM COMPANY
 VENEZUELA LIMITED and
 CONOCOPHILLIPS PETROZUATA B.V.,

                           Plaintiffs,

         v.                                            C.A. No. _______________________

 PETRÓLEOS DE VENEZUELA, S.A.,
 CORPOGUANIPA, S.A., and PDVSA
 PETRÓLEO, S.A.,

                           Defendants.



                             DECLARATION OF MARCUS J. GREEN

       I, Marcus J. Green, hereby declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that the following is true and correct:


       1.        I am a lawyer at the law firm of Kobre & Kim LLP, counsel for Phillips Petroleum

Company        Venezuela      Limited     and   ConocoPhillips   Petrozuata   B.V.   (collectively,

“ConocoPhillips”) in the above-captioned matter.

       2.        I make this declaration in support of ConocoPhillips’s Motion for an Order

Authorizing the Issuance of a Writ of Fieri Facias, dated November 26, 2019 (the “Motion”).

       3.        I am providing notice of the Motion to Petróleos de Venezuela SA (“PDVSA”) c/o:

              a. Luis Pacheco, Chairman of the ad-hoc Board of PDVSA and José Ignacio

                 Hernández G., Special Attorney General of Venezuela, 2409 California St NW,

                 Washington, DC 20008;




                                                   1
  Case 1:19-mc-00342-LPS Document 4 Filed 11/26/19 Page 2 of 3 PageID #: 25




             b. Consultora Jurídica de PDVSA, Av. Libertador, Edif. Petróleos de Venezuela,

                Torre Este, Piso 10, Urb. La Campina, Apartado Postal 169, Caracas 1050-A,

                República Bolivariana de Venezuela; and

             c. Samuel Taylor Hirzel, II, Heyman Enerio Gattuso & Hirzel LLP, 300 Delaware

                Avenue, Suite 200, Wilmington, DE 19801, shirzel@hegh.law and Joseph D.

                Pizzurro, Curtis, Mallet-Prevost, Colt & Mosle LLP, 101 Park Avenue, New York,

                New York 10178, jpizzurro@curtis.com

        4.      I am providing notice of the Motion to non-party PDV Holding, Inc. (“PDVH”)

c/o:

             a. Registered agent, Corporation Trust Company, 1209 Orange Street, Wilmington,

                Delaware 19801; and

             b. Alexandra M. Cumings and Kenneth J. Nachbar, Morris, Nichols, Arsht & Tunnell

                LLP, 1201 North Market Street, P.O. Box 1347, Wilmington, DE 19899,

                acumings@mnat.com, knachbar@mnat.com; and Nathan P. Eimer, Eimer Stahl

                LLP, 224 South Michigan Avenue, Suite 1100, Chicago, IL 60604,

                neimer@eimerstahl.com

        5.      Attached hereto as Exhibit 1 is ConocoPhillips’ proposed writ of fieri facias

directed to PDVH.

        6.      Attached hereto as Exhibit 2 is ConocoPhillips’ proposed praecipe in support of

its request that the Clerk of the Court issue the writ of fieri facias.

        7.      Attached hereto as Exhibit 3 is a true and correct copy of the judgment entered

against the Defendants and in favor of ConocoPhillips by the District Court for the Southern

District of New York, dated August 23, 2018 (the “SDNY Judgment”).



                                                   2
  Case 1:19-mc-00342-LPS Document 4 Filed 11/26/19 Page 3 of 3 PageID #: 26




        8.      Attached hereto as Exhibit 4 is a true and correct copy of PDVH’s Corporate

Disclosure Statement and Statement of Financial Interest, in PDVSA et al. v. MUFG Union Bank,

N.A. et al., C.A. No. 1:19-cv-10023-KPF (S.D.N.Y. Oct. 29, 2019) dated October 29, 2019.

        9.      Attached hereto as Exhibit 5 are true and correct copies of excerpts from each of

the Hamaca Association Agreement, dated July 9, 1997, the PDVSA Hamaca Guarantee, dated

July 9, 1997, and the PDVSA Petrozuata Guarantee, dated November 10, 1995, with English

translations.

        10.     Attached hereto as Exhibit 6 are true and correct copies of Article 9.4 and Article

16.3 of the Settlement Agreement between and among Petróleos de Venezuela S.A., PDVSA

Petróleo, S.A., Corpoguanipa, S.A., Phillips Petroleum Company Venezuela Limited and

ConocoPhillips Petrozuata B.V., dated August 18, 2018.

        I hereby declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge.

        Executed on November 26, 2019 in New York, New York.




                                                                       ____________________

                                                                       Marcus J. Green




                                                 3
